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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


 JULIEN GABILLY,
                              Plaintiff,                         No. 19-CV-11884 (RA)
                         v.
 CITY OF NEW YORK, et al.,                                               ORDER


                              Defendants.


RONNIE ABRAMS, United States District Judge:
         In the case management plan and scheduling order entered on September 3, 2020, the Court
scheduled a post-discovery conference for Friday, January 15, 2021 at 12:30 p.m. See Dkt. 25. The
parties were directed to file, no later than one week in advance of the conference, a joint letter updating
the Court on the status of the case, including the status of discovery, whether either party intends to file
additional motions, and what efforts the parties have made to settle the action. Id. The parties shall jointly
file such a letter, providing any relevant updates, no later than Wednesday, January 13.
         The conference will be held by telephone. The parties shall use the following dial-in information
to call in to the conference: Call-in Number: (888) 363-4749; Access Code: 1015508. This conference
line is open to the public.
         If the parties believe that a conference would not be productive at this time in light of the pending
motions for judgment on the pleadings and to dismiss, see Dkts. 27, 37, they shall inform the Court in
the joint letter.
SO ORDERED.

Dated:      January 11, 2021
            New York, New York

                                                    RONNIE ABRAMS
                                                    United States District Judge
